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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 2:11-cr-05-03

v.                                                     Honorable R. ALLAN EDGAR

KENNETH JAMES BEHRENDT,

                  Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 1, 2011, after receiving the written consent of defendant and all counsel. At the

hearing, defendant KENNETH JAMES BEHRENDT entered a plea of guilty to Count 1 of the

Second Superseding Indictment, charging defendant with Conspiracy to Distribute and Possess with

Intent to Distribute Oxycodone in violation of 21:841, 21:841(a)(1) and 21:841(b)(1)(C), in

exchange for the undertakings made by the government in the written plea agreement. On the basis

of the record made at the hearing, I find that defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart

from the promises in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.
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                  I therefore recommend that defendant's plea of guilty to Count 1 of the Second

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. It is further recommended

that the order setting conditions of defendant's release remain in effect pending sentencing.

Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, determination of

defendant's status pending sentencing, and imposition of sentence are specifically reserved for the

district judge.



Date: August 5, 2011                                   /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




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